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CURRICULUM VITAE

                        Jeremy R. Bauer
                        Special Agent, Federal Bureau of Investigation
                        2111 West Roosevelt
                        Chicago, IL 60608
                        (312) 421-6700



PROFESSIONAL EXPERIENCE

Federal Bureau of Investigation (September 2015 – Present)
Special Agent

September 2015 - Present (Chicago, IL): Violent Crimes and Fugitive Task Force
- Conduct numerous types of investigations, including bank robberies, kidnappings, fugitives, extortions, and
   special jurisdiction crimes
- Provide assistance to local law enforcement
- Certified Cellular Analysis Survey Team (CAST) Special Agent
- Conduct historical cell site analysis

Federal Bureau of Investigation (December 2009 – September 2015)
Staff Operations Specialist

December 2009 – September 2015 (Chicago, IL): Violent Crimes and Fugitive Task Force
- Provide analytical and investigative support to crimes of violence to include Hobbs Act robberies, bank
   robberies, kidnappings, fugitive cases, threats and extortions
- Provide cellular record analysis and technological assistance to local, state, and federal law enforcement
   including historical cell site analysis and Cellebrite forensic extractions
- Train law enforcement officers and federal agents on cellular technology and record analysis

December 2009 – December 2011 (Chicago, IL): Mortgage Fraud Squad
- Provided analytical and investigative support for mortgage fraud investigations

EDUCATION

Western Illinois University, Macomb, IL
Bachelor of Science – Law Enforcement and Justice Administration (2008)
Master of Arts – Law Enforcement and Justice Administration (2011)

PROFESSIONAL TRAINING

Received over 300 total hours of formal training in the use of cellular phones in investigations, cellular network
setup, cellular network surveys, radio frequency theory, and cellular phone technologies including the training
described below:

FBI Cellular Historical and Real Time Analysis / Project Pin Point – FBI, Philadelphia, PA (2010)

Cellebrite Training Certification – Forward Discovery, Naperville, IL (2012)

FBI Cellular Analysis Survey Team – Advanced Cellular Historical and Real Time Analysis – FBI Philadelphia, PA
(2012)

FBI Cellular Analysis Survey Team – Advanced Project PinPoint for Support Personnel – FBI Tampa, FL (2015)

FBI Cellular Analysis Survey Team – Field Training Exercise – FBI Philadelphia, PA (2018)

FBI Cellular Analysis Survey Team – Certification, Part 1 – FBI Atlanta, GA (2018)

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FBI Cellular Analysis Survey Team – Certification, Part 2 – Kansas City, MO (2018)

FBI Cellular Analysis Survey Team – Annual Recertification – New Orleans, LA (2019)

FBI Cellular Analysis Survey Team – Annual Recertification – Mobile, AL (2020)


PROFESSIONAL INSTRUCTION

Instructed “Basic Techniques for Utilizing Cellular Phones in Investigations” and “Use of Cellular Phones in
Investigations” for approximately 500 Law Enforcement Officers and Prosecutors

        2010 – Evergreen Park and surrounding police departments
        2011 – Chicago Police Department Training Academy
        2011 – FBI Chicago Division
        2011 – Major Case Assistance Team – Schaumburg, Illinois
        2012 – FBI Chicago Division
        2012 – Mt. Pleasant and Surrounding Departments – Mt. Pleasant, South Carolina
        2012 – Kane County Sheriff’s Office and surrounding Police Departments
        2012 – North Regional Major Crimes Task Force (NORTAF) – Skokie, IL
        2013 – FBI Chicago Division
        2013 – Mobile Team Training Unit IV – East Moline, IL
        2014 – Chicago Police Department Bureau of Organized Crime-Intelligence Section
        2019 – Cook County State’s Attorney’s Office
        2019 – FBI St. Louis Division
        2019 – FBI Chicago Division
        2019 – FBI Denver Division



Instructed “Advanced Techniques for Utilizing Cellular Phones in Investigations”

        2012 – FBI Chicago Division



EXPERT EXPERIENCE

Previously qualified as an expert witness in historical cell site analysis on four occasions.

United States District Court
Northern District of Illinois: February 2020, April 2021

Cook County, IL
March 2020

Macon County, IL
December 2014


COMMENDATIONS & ACHIEVEMENTS

Recipient Award in Recognition of Exemplary Service – FBI 2011
Exceptional Performance Award – FBI 2021




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